      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 1 of 15



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12   Attorneys for Plaintiff Tesla, Inc.

13                                 UNITED STATES DISTRICT COURT

14                                         DISTRICT OF NEVADA

15   TESLA, INC., a Delaware corporation,           Case No. 3:18-cv-00296-LRH-VPC

16                   Plaintiff,
                                                    PLAINTIFF TESLA, INC.’S ANSWER TO
17             vs.                                  DEFENDANT MARTIN TRIPP’S
                                                    COUNTERCLAIM
18   MARTIN TRIPP, an individual,

19                   Defendant.

20
     MARTIN TRIPP, an individual,
21
                     Counter-Plaintiff,
22
               vs.
23
     TESLA, INC., a Delaware corporation,
24
                     Counter-Defendant.
25

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27

28



                     PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 2 of 15



1              Plaintiff Tesla, Inc. (“Tesla”), by and through its undersigned counsel, hereby respectfully

2    submits this Answer to Defendant Martin Tripp’s (“Tripp”) Counterclaim.

3                                           GENERAL RESPONSES

4              Except as expressly admitted herein, Tesla denies any and all material allegations in the

5    Counterclaim. With the exception of the Affirmative Defenses, the numbered paragraphs of this

6    Answer correspond to the paragraphs as numbered in the Counterclaim. To the extent paragraphs

7    in the Counterclaim are grouped under headings, Tesla responds generally that such headings and

8    groupings are conclusions of law or fact and denies each and every such allegation made or implied

9    by such headings or groupings.

10                                          SPECIFIC RESPONSES

11             1.     Tesla admits the allegations in Paragraph 1 on information and belief.

12             2.     Tesla admits that it is a Delaware corporation and that its Gigafactory is located in

13   Nevada. Tesla denies the remaining allegations in Paragraph 2.

14             3.     Tesla admits that Elon Musk is Tesla’s CEO. Tesla denies the remaining allegations

15   in Paragraph 3.

16             4.     Paragraph 4 consists of conclusions of law to which no response is necessary or

17   appropriate.

18             5.     Paragraph 5 consists of conclusions of law to which no response is necessary or

19   appropriate.

20             6.     Paragraph 6 consists of conclusions of law to which no response is necessary or

21   appropriate.

22             7.     Paragraph 7 consists of conclusions of law to which no response is necessary or

23   appropriate.

24             8.     Paragraph 8 consists of conclusions of law to which no response is necessary or

25   appropriate.

26             9.     Paragraph 9 consists of conclusions of law to which no response is necessary or

27   appropriate.

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                                                        -1-
                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 3 of 15



1              10.   Tesla admits that from October 2017 to June 2018, Tripp was employed by Tesla at

2    the Nevada Gigafactory as a process technician. Tesla denies the remaining allegations in

3    Paragraph 10.

4              11.   Tesla lacks knowledge or information sufficient to form a belief about the truth of

5    the allegations in Paragraph 11 and on that basis denies them.

6              12.   Tesla admits the allegations in Paragraph 12. Tesla admits that Tripp was residing

7    in Wisconsin in mid-2017 on information and belief.

8              13.   Tesla lacks knowledge or information sufficient to form a belief about the truth of

9    the allegations in Paragraph 13 and on that basis denies them.

10             14.   Tesla admits that it is an environmentally-conscious company with cutting-edge

11   technologies and manufacturing capabilities. The allegations in the first sentence of Paragraph 14

12   refer to, describe, or quote from Tesla’s website, and Tesla states that the website speaks for itself,

13   and denies the allegations to the extent that they incorrectly characterize the website, misstate its

14   applicability to this case, or take any portions out of context. Tesla denies the remaining

15   allegations in Paragraph 14.

16             15.   Tesla admits the allegations in Paragraph 15.

17             16.   Tesla denies the allegations in Paragraph 16.

18             17.   Tesla admits the allegations in Paragraph 17.

19             18.   Tesla admits the allegations in Paragraph 18.

20             19.   Tesla admits that while assigned to the stator production line, Tripp’s

21   responsibilities included assisting the engineering department with process improvements, training,

22   and placing orders. Tesla denies the remaining allegations in Paragraph 19.

23             20.   Tesla denies the allegations of Paragraph 20.

24             21.   Tesla admits to having the goal of producing 5,000 Model 3 vehicles per week by

25   July 2018. Tesla denies the remaining allegations in Paragraph 21.

26             22.   Tesla denies the allegations of Paragraph 22.

27             23.   The allegations in the first two sentences of Paragraph 23 refer to, describe, or quote

28   from a May 16, 2018 email, and Tesla states that the email speaks for itself, and denies the


                                                       -2-
                     PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 4 of 15



1    allegations to the extent that they incorrectly characterize the email, misstate its applicability to this

2    case, or take any portions out of context. Tesla denies the remaining allegations in Paragraph 23.

3              24.   The allegations in Paragraph 24 refer to, describe, or quote from a May 16, 2018

4    message, and Tesla states that the message speaks for itself, and denies the allegations to the extent

5    that they incorrectly characterize the message, misstate its applicability to this case, or take any

6    portions out of context. Tesla denies the remaining allegations in Paragraph 24.

7              25.   Tesla lacks knowledge or information sufficient to form a belief about the truth of

8    the allegations about what an unidentified “Design Engineer” stated to Tripp and on that basis

9    denies them. Tesla denies the remaining allegations in Paragraph 25.

10             26.   Tesla admits that Tripp was reassigned to the battery module production line on

11   May 17, 2018. Tesla denies the remaining allegations in Paragraph 26.

12             27.   Tesla admits the allegations in Paragraph 27.

13             28.   Tesla admits that the battery modules used in Model 3 vehicles are comprised of

14   multiple components, that each battery module contains seven bandoliers, and that each Model 3

15   vehicle has four battery modules. Tesla denies the remaining allegations in Paragraph 28.

16             29.   Tesla denies the allegations in Paragraph 29.

17             30.   Tesla denies the allegations in Paragraph 30.

18             31.   Tesla denies the allegations in Paragraph 31.

19             32.   Tesla admits that, at times, semi-trucks have been parked in a lot near the

20   Gigafactory. Tesla lacks knowledge or information sufficient to form a belief about the truth of the

21   allegations about what Tripp was told or personally observed and on that basis denies them. Tesla

22   denies the remaining allegations in Paragraph 32.

23             33.   Tesla denies the allegations in Paragraph 33.

24             34.   Tesla denies the allegations in Paragraph 34.

25             35.   Tesla lacks knowledge or information sufficient to form a belief about the truth of

26   Tripp’s allegation that he was “told” certain things about a malfunctioning robot and on that basis

27   Tesla denies the allegations in Paragraph 35.

28             36.   Tesla denies the allegations in Paragraph 36.


                                                       -3-
                     PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 5 of 15



1              37.   Tesla denies the allegations in Paragraph 37.

2              38.   Tesla lacks knowledge or information sufficient to form a belief about the truth of

3    the allegations about what an unidentified person stated to Tripp and on that basis denies the

4    allegations in Paragraph 38.

5              39.   Tesla denies the allegations in Paragraph 39.

6              40.   Tesla lacks knowledge or information sufficient to form a belief about the truth of

7    the allegations about what Tripp supposedly researched and on that basis denies them. Tesla denies

8    the remaining allegations in Paragraph 40.

9              41.   Tesla denies the allegations in Paragraph 41.

10             42.   Tesla denies the allegations in Paragraph 42.

11             43.   Tesla denies the allegations in Paragraph 43.

12             44.   Tesla denies the allegations in Paragraph 44.

13             45.   Tesla admits that Tripp’s employment was terminated on June 19, 2018. Tesla

14   denies the remaining allegations in Paragraph 45.

15             46.   Tesla denies the allegations in Paragraph 46.

16             47.   The allegations in Paragraph 47 refer to, describe, or quote a June 17, 2018 email,

17   and Tesla states that the email speaks for itself, and denies the allegations to the extent that they

18   incorrectly characterize the email, misstate its applicability to this case, or take any portions out of

19   context.

20             48.   Tesla denies the allegations in Paragraph 48.

21             49.   Tesla denies the allegations in Paragraph 49.

22             50.   Tesla denies the allegations in Paragraph 50.

23             51.   Tesla denies the allegations in Paragraph 51.

24             52.   Tesla denies the allegations in Paragraph 52.

25             53.   The allegations in Paragraph 53 refer to, describe, or quote a June 20, 2018

26   statement, and Tesla states that the statement speaks for itself, and denies the allegations to the

27   extent that they incorrectly characterize the statement, misstate its applicability to this case, or take

28   any portions out of context.


                                                       -4-
                     PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 6 of 15



1              54.   The allegations in Paragraph 54 purport to refer to, describe, or quote a June 20,

2    2018 email, and Tesla states that the purported email speaks for itself, and denies the allegations to

3    the extent that they incorrectly characterize the email, misstate its applicability to this case, or take

4    any portions out of context.

5              55.   Tesla lacks knowledge or information sufficient to form a belief as to the truth of the

6    allegations in Paragraph 55 and on that basis denies them.

7              56.   Tesla denies the allegations in Paragraph 56.

8              57.   Tesla denies the allegations in Paragraph 57.

9              58.   Tesla denies the allegations in Paragraph 58.

10             59.   The allegations in Paragraph 59 refer to, describe, or quote a report from the Storey

11   County Sheriff’s Office, and Tesla states that the report speaks for itself, and denies the allegations

12   to the extent that they incorrectly characterize the report, misstate its applicability to this case, or

13   take any portions out of context.

14             60.   Tesla admits that the Storey County Sheriff’s Office conducted an investigation into

15   the phone call. Tesla denies the remaining allegations in Paragraph 60.

16             61.   Tesla lacks knowledge or information sufficient to form a belief as to the truth of

17   whether Tripp voluntarily met with two deputies from the Storey County Sheriff’s Office and

18   whether they frisked him before the interview and on that basis denies these allegations. The

19   remaining allegations in Paragraph 61 refer to, describe, or quote a report from the Storey County

20   Sheriff’s Office, and Tesla states that the report speaks for itself, and denies the allegations to the

21   extent that they incorrectly characterize the report, misstate its applicability to this case, or take any

22   portions out of context.

23             62.   The allegations in Paragraph 62 refer to, describe, or quote a report from the Storey

24   County Sheriff’s Office, and Tesla states that the report speaks for itself, and denies the allegations

25   to the extent that they incorrectly characterize the report, misstate its applicability to this case, or

26   take any portions out of context.

27             63.   The allegations in the second sentence of Paragraph 63 refer to, describe, or quote a

28   report from the Storey County Sheriff’s Office, and Tesla states that the report speaks for itself, and


                                                        -5-
                     PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 7 of 15



1    denies the allegations to the extent that they incorrectly characterize the report, misstate its

2    applicability to this case, or take any portions out of context. Tesla denies the remaining

3    allegations in Paragraph 63.

4              64.   Tesla denies the allegations in Paragraph 64.

5              65.   Tesla denies the allegations in Paragraph 65.

6              66.   Tesla denies the allegations in Paragraph 66.

7              67.   Tesla denies publishing any statements to retaliate against and discredit Tripp. The

8    remaining allegations in Paragraph 67 refer to, describe, or quote a July 5, 2018 statement on

9    Twitter (the “tweet”), and Tesla states that the tweet speaks for itself, and denies the allegations to

10   the extent that they incorrectly characterize the tweet, misstate its applicability to this case, or take

11   any portions out of context.

12             68.   Tesla admits the allegations in Paragraph 68 on information and belief.

13             69.   Tesla lacks knowledge or information sufficient to form a belief as to the truth of the

14   allegations in Paragraph 69 and on that basis denies them.

15             70.   Tesla denies the allegations in Paragraph 70.

16             71.   Tesla denies the allegations in Paragraph 71.

17             72.   Tesla denies the allegations in Paragraph 72.

18             73.   Tesla admits the allegations in Paragraph 73.

19             74.   Tesla admits to interviewing Tripp on June 14, 2018 and to escorting him out of the

20   Gigafactory. Tesla denies the remaining allegations in Paragraph 74.

21             75.   Tesla denies the allegations in Paragraph 75.

22             76.   Tesla denies the allegations in Paragraph 76.

23             77.   Tesla incorporates herein by reference and reasserts each and every response set

24   forth in the foregoing Paragraphs.

25             78.   Tesla denies the allegations in Paragraph 78.

26             79.   Tesla denies the allegations in Paragraph 79.

27             80.   Tesla denies the allegations in Paragraph 80.

28             81.   Tesla denies the allegations in Paragraph 81.


                                                        -6-
                     PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 8 of 15



1              82.    Tesla denies the allegations in Paragraph 82.

2              83.    Tesla denies the allegations in Paragraph 83.

3              84.    Tesla denies the allegations in Paragraph 84.

4              85.    Tesla denies the allegations in Paragraph 85.

5              86.    Tesla incorporates herein by reference and reasserts each and every response set

6    forth in the foregoing Paragraphs.

7              87.    Tesla denies the allegations in Paragraph 87.

8              88.    Tesla denies the allegations in Paragraph 88.

9              89.    Tesla denies the allegations in Paragraph 89.

10             90.    Tesla denies the allegations in Paragraph 90.

11             91.    Tesla denies the allegations in Paragraph 91.

12             92.    Tesla denies the allegations in Paragraph 92.

13             93.    Tesla incorporates herein by reference and reasserts each and every response set

14   forth in the foregoing Paragraphs.

15             94.    Tesla denies the allegations in Paragraph 94.

16             95.    Tesla denies the allegations in Paragraph 95.

17             96.    Tesla denies the allegations in Paragraph 96.

18             97.    Tesla denies the allegations in Paragraph 97.

19             98.    Tesla denies the allegations in Paragraph 98.

20             99.    Tesla denies the allegations in Paragraph 99.

21                                        AFFIRMATIVE DEFENSES

22             100.   Without admitting any wrongful conduct on the part of Tesla, and without admitting

23   that Tripp has suffered any loss, damage, or injury, Tesla alleges the following affirmative defenses

24   to the Counterclaim. By designating the following as affirmative defenses, Tesla does not in any

25   way waive or limit any defenses which are or may be raised by its denial, allegations, and

26   averments set forth herein. Certain affirmative defenses are asserted for completeness and refer to

27   facts and proof which also negate required elements of Tripp’s claims, and by raising such defenses

28   Tesla does not admit that Tripp does not have the burden of proof and/or the burden of persuasion


                                                       -7-
                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 9 of 15



1    for any or all facts underlying any of those defenses or suggest that Tripp is not required to carry

2    the burden as to such elements.

3              101.   These defenses are pled in the alternative, are raised to preserve the rights of Tesla

4    to assert such defenses and are without prejudice to Tesla’s ability to raise other and further

5    defenses. Tesla expressly reserves all rights to reevaluate its defenses and/or assert additional

6    defenses upon discovery and review of additional documents and information, upon the

7    development of other pertinent facts, and during pretrial proceedings in this action.

8                                      FIRST AFFIRMATIVE DEFENSE
9                                 (FAILURE TO STATE A CAUSE OF ACTION)

10             102.   The Counterclaim, and each purported cause of action contained therein, fails to

11   state facts sufficient to state a cause of action.

12                                 SECOND AFFIRMATIVE DEFENSE
13                                           (LACK OF STANDING)

14             103.   The Counterclaim is barred, in whole or in part, because Tripp lacks standing to

15   assert the claims therein.

16                                  THIRD AFFIRMATIVE DEFENSE
17                                      (TRUTH/SUBSTANTIAL TRUTH)

18             104.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of

19   truth and/or substantial truth.

20                                 FOURTH AFFIRMATIVE DEFENSE
21                                          (ABSOLUTE PRIVILEGE)

22             105.   Tripp’s claims and/or recovery are barred, in whole or in part, by absolute privilege.

23                                     FIFTH AFFIRMATIVE DEFENSE
24                                (QUALIFIED/CONDITIONAL PRIVILEGES)

25             106.   Tripp’s claims and/or recovery are barred, in whole or in part, by one or more

26   qualified and/or conditional privileges.

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                                                          -8-
                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 10 of 15



1                                   SIXTH AFFIRMATIVE DEFENSE
2                                      (CONSTITUTIONAL PRIVILEGE)

3              107.   Tripp’s claims and/or recovery are barred, in whole or in part, by constitutional

4    privileges.

5                                 SEVENTH AFFIRMATIVE DEFENSE
6                                    (COMMON INTEREST PRIVILEGE)

7              108.   Tripp’s claims and/or recovery are barred, in whole or in part, by the common

8    interest privilege.

9                                  EIGHTH AFFIRMATIVE DEFENSE
10                                        (FAIR REPORT PRIVILEGE)

11             109.   Tripp’s claims and/or recovery are barred, in whole or in part, by the fair report

12   privilege.

13                                  NINTH AFFIRMATIVE DEFENSE
14                                             (FAIR COMMENT)

15             110.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of fair

16   comment.

17                                  TENTH AFFIRMATIVE DEFENSE
18                                             (JUSTIFICATION)

19             111.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of

20   justification.

21                               ELEVENTH AFFIRMATIVE DEFENSE
22                                  (INCREMENTAL HARM DOCTRINE)

23             112.   Tripp’s claims and/or recovery are barred, in whole or in part, by the incremental

24   harm doctrine.

25                               TWELFTH AFFIRMATIVE DEFENSE
26                                                 (OPINION)

27             113.   Tripp’s claims and/or recovery are barred, in whole or in part, because the

28   statements at issue are expressions of opinion.


                                                       -9-
                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 11 of 15



1                              THIRTEENTH AFFIRMATIVE DEFENSE
2                                          (NOERR-PENNINGTON)

3              114.   Tripp’s claims and/or recovery are barred, in whole or in part, by the Noerr-

4    Pennington doctrine.

5                              FOURTEENTH AFFIRMATIVE DEFENSE
6                                                (ANTI-SLAPP)

7              115.   Tripp’s claims and/or recovery are barred, in whole or in part, by Nevada’s

8    anti-SLAPP statute.

9                               FIFTEENTH AFFIRMATIVE DEFENSE
10                                               (GOOD FAITH)

11             116.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of

12   good faith.

13                              SIXTEENTH AFFIRMATIVE DEFENSE
14                                             (REDUNDANCY)

15             117.   Tripp’s claims and/or recovery are barred, in whole or in part, because they are

16   redundant and/or duplicative of one another.

17                            SEVENTEENTH AFFIRMATIVE DEFENSE
18                                (UNCLEAN HANDS / IN PARI DELICTO)

19             118.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of

20   unclean hands and similar such defenses and by the unconscionability of Tripp’s acts and claims.

21                             EIGHTEENTH AFFIRMATIVE DEFENSE
22                                        (FAILURE TO DO EQUITY)

23             119.   No relief may be obtained under the Counterclaim by reason of Tripp’s failure to do

24   equity in the matters alleged in the Counterclaim.

25                             NINETEENTH AFFIRMATIVE DEFENSE
26                                        (WILLFUL MISCONDUCT)

27             120.   Tripp’s claims and/or recovery are barred, in whole or in part, by his own willful

28   misconduct.


                                                      - 10 -
                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 12 of 15



1                               TWENTIETH AFFIRMATIVE DEFENSE
2                                                   (FRAUD)

3              121.   Tripp’s claims and/or recovery are barred, in whole or in part, by his own fraud.

4                             TWENTY-FIRST AFFIRMATIVE DEFENSE
5                                          (UNJUST ENRICHMENT)

6              122.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of

7    unjust enrichment.

8                           TWENTY-SECOND AFFIRMATIVE DEFENSE
9                                                 (ESTOPPEL)

10             123.   Tripp’s claims and/or recovery are barred, in whole or in part, because Tripp is

11   estopped to assert any claim for relief respecting the matters which are the subject of the

12   Counterclaim by his conduct, representations, and omissions.

13                           TWENTY-THIRD AFFIRMATIVE DEFENSE
14                                                 (WAIVER)

15             124.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of

16   waiver.

17                          TWENTY-FOURTH AFFIRMATIVE DEFENSE
18                                (SUPERSEDING/INTERVENING CAUSE)

19             125.   Tripp’s claims and/or recovery are barred, in whole or in part, because of

20   superseding and intervening causes of any alleged damages.

21                           TWENTY-FIFTH AFFIRMATIVE DEFENSE
22                                         (CONDUCT OF OTHERS)

23             126.   Tripp’s claims and/or recovery are barred, in whole or in part, because the conduct

24   complained of is the conduct of others.

25                           TWENTY-SIXTH AFFIRMATIVE DEFENSE
26                                     (UNCERTAINTY OF DAMAGES)

27             127.   Tripp’s claims and/or recovery are barred, in whole or in part, due to uncertainty of

28   any alleged damages.


                                                      - 11 -
                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 13 of 15



1                          TWENTY-SEVENTH AFFIRMATIVE DEFENSE
2                                          (COMPARATIVE FAULT)

3              128.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrines of

4    contributory negligence or fault and/or comparative negligence or fault.

5                           TWENTY-EIGHTH AFFIRMATIVE DEFENSE
6                                          (ASSUMPTION OF RISK)

7              129.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of

8    assumption of risk.

9                            TWENTY-NINTH AFFIRMATIVE DEFENSE
10                                        (FAILURE TO MITIGATE)

11             130.   Tripp’s claims and/or recovery are barred, in whole or in part, or must be diminished

12   because Tripp failed to mitigate, minimize, or attempt to avoid damages.

13                              THIRTIETH AFFIRMATIVE DEFENSE
14                                      (SETOFF AND RECOUPMENT)

15             131.   Without conceding any damage to Tripp in any respect, Tesla is entitled to offset

16   and recoup against any judgment entered for Tripp against all obligations of Tripp owing to Tesla.

17                            THIRTY-FIRST AFFIRMATIVE DEFENSE
18                                       (UNCONSTITUTIONALITY)

19             132.   Tripp’s request for punitive damages is barred, in whole or in part, on the grounds

20   that an award of punitive damages in this matter would violate the Nevada and United States

21   Constitutions.

22                           THIRTY-SECOND AFFIRMATIVE DEFENSE
23                                                 (LACHES)

24             133.   Tripp’s claims and/or recovery are barred, in whole or in part, by the doctrine of

25   laches.

26                                       ADDITIONAL DEFENSES
27             134.   Tesla reserves the right to supplement this answer and to assert additional

28   affirmative defenses as additional facts are learned in the course of discovery.


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                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 14 of 15



1                                           PRAYER FOR RELIEF

2              WHEREFORE, Plaintiff Tesla, Inc. prays for judgment and relief against Defendant Martin

3    Tripp as follows:

4              1.     That judgment be entered in favor of Tesla and against Tripp on all claims for relief;

5              2.     That Tripp take nothing by the Counterclaim;

6              3.     For reasonable attorneys’ fees and costs incurred herein as allowed by contract

7    and/or law; and

8              4.     For any other and further relief that the Court deems just and proper.

9

10   Dated: August 21, 2018                         HUESTON HENNIGAN LLP

11

12                                                  By: /s/ Allison L. Libeu
                                                        Allison L. Libeu (admitted pro hac vice)
13                                                      Attorneys for Plaintiff Tesla, Inc.

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                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
      Case 3:18-cv-00296-LRH-VPC Document 28 Filed 08/21/18 Page 15 of 15



1                                           PROOF OF SERVICE
2
             I am employed in the County of Orange, State of California. I am over the age of 18 and
3    not a party to the within action. My business address is 620 Newport Center Drive, Suite 1300,
     Newport Beach, CA 92660.
4
               On August 21, 2018, I served the foregoing document(s) described as:
5
               PLAINTIFF TESLA, INC.’S ANSWER TO DEFENDANT MARTIN TRIPP’S
6                                      COUNTERCLAIM

7    on the interested parties in this action as stated below:

8                                         Robert D. Mitchell
                                       William M. Fischbach III
9                                       Christopher J. Waznik
                                         Matthew D. Dayton
10
                                      TIFFANY & BOSCO, P.A.
11                                     2525 E. Camelback Road
                                  7th Floor, Camelback Esplanade II
12                                       Phoenix, AZ 85016
13                                     PHONE: 602-255-6000
                                        FAX: 602-255-0103
14
                                     E-MAIL: rdm@tblaw.com
15                                   E-MAIL : wmf@tblaw.com
                                      EMAIL : cjw@tblaw.com
16                                    EMAIL : md@tblaw.com
17     X       (BY E-MAIL) By transmitting the documents listed above to the e-mail addresses set forth
               above.
18
            I declare under penalty of perjury under the laws of the United States of America that the
19   foregoing is true and correct, and that I am employed in the office of a member of the bar of this
     Court at whose direction the service was made.
20
               Executed on August 21, 2018, at Newport Beach, California.
21

22                       Sarah Jones                             /s/ Sarah Jones
                     (Type or print name)                                          (Signature)
23

24

25

26

27

28


                                                      - 14 -
                      PLAINTIFF TESLA’S ANSWER TO DEFENDANT TRIPP’S COUNTERCLAIM
     5368928
